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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

TRACY COHEN,                                      )
                                                  )      No. 1:24-cv-569
                          Plaintiff,              )
                                                  )
                                                  )
             vs.                                  )
                                                  )
KERING, GUCCI,                                    )
GUCCI AMERICA, INC., and                          )
GUCCI NORTH AMERICAN                              )
HOLDINGS,                                         )
                                                  )       JURY TRIAL DEMANDED
                          Defendants.             )

                                              COMPLAINT

                   Comes now Plaintiff TRACY COHEN, and files this Complaint against Defendants

KERING, GUCCI, GUCCI AMERICA INC, and GUCCI NORTH AMERICAN HOLDINGS,

and alleges the following:

                                           INTRODUCTION

        1.         Kering proclaims itself to be the "world's most influential luxury group." It claims,

"Women not only form an important part of our customer base and teams, but they also play a decisive

role along the entire value chain. The Group is particularly committed to gender equality and to the

development of talented women in all its entities and at all levels of the organization." This is false.

        2.         Italian luxury brand Gucci is Kering's most profitable brand in its entire conglomerate.

Gucci claims, "We have a zero-tolerance approach to any form of Modern Slavery. We believe that

protecting the dignity and rights of all people is paramount to good business. It is within our core

values to fight against exploitation and to strive toward eradication of forced, bonded, and slave labor

throughout our supply chain" This too, is false.




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        3.       The Plaintiff here, Tracy Cohen, was arguably Gucci’s top-performing

salesperson throughout all of Gucci America. Before she was fired for pretextual reasons, in

October 2023, Ms. Cohen sold nearly $50 Million in Gucci product over the course of her

nearly 18 year-career.

        4.       During Ms. Cohen's employment, rather than decorate her with recognition and give

her opportunities to succeed, Gucci instead consumed nearly every second of her life, exploiting her

though a modern-day slavery scheme of psychological abuse, manipulation, and discrimination where

her employers - Gucci and Kering - destroyed her sense of self and made her live in a constant fear

of losing her job.

        5.       Ms. Cohen has since learned that she is not alone. A 2021 National Institute of Justice

study, “An Exploratory Study of Labor Trafficking Among U.S. Citizen Victims,” found that, despite

common belief, labor trafficking does occur for U.S. citizens, and 15% of the people surveyed

responded that they worked in retail.1

        6.       As detailed more fully below, Ms. Cohen is not the first female employee to complain

about Gucci's abusive and exploitative labor practices around the globe, including but not limited to:

maintaining sweatshop conditions in China; forcing pregnant women to have abortions; ignoring

complaints of sexual harassment; pushing new mothers out of their jobs; causing women to suffer

from incontinence; calling women "crazy;" and even making female models wear straightjackets on

the runway against their will.

        7.       Plaintiff joined Gucci Chicago in 2006, as a Sales Associate. After nearly 12 years of

hard work, in 2018, Plaintiff earned the #1 salesperson position in the store, surpassing at least 20

other Sales Associates, month after month and year after year. Nearly each month, she was responsible




1 An Exploratory Study of Labor Trafficking Among U.S. Citizen Victims, 2021




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for selling approximately 15% of the Gucci Chicago store's entire monthly quota, despite the store

having at least 20 employees on any given month.

        8.      Upon Plaintiff earning the #1 position, Defendants created an elaborate scheme of

trickery to push her to sell more Gucci product, while keeping her afraid of losing her job. Defendants

controlled nearly all aspects of Plaintiff's life by isolating her from society, demanding she work off-

the-clock while attached to her electronic selling devices, making negative comments about her age

and mental health, and, giving her a monthly sales quota that was nearly two to three times the quota

of her peers.

        9.      As detailed more fully below, Defendants preyed on Plaintiff's depression and anxiety

through fear, isolation, and control. Indeed, according to the National Disability Rights Network,

“People with disabilities are more likely to experience human trafficking than their peers. Traffickers

deliberately target victims they think they will be able to isolate and control.”2

        10.     Defendants physically and emotionally abused Plaintiff, lied to her, coerced and

exploited her, all while unjustly enriching themselves. For example, for years, Gucci falsely promised

her an assistant, as well as "rewards" like international travel and fashion shows, in an effort to push

her to sell millions of dollars in Gucci product. In fact, a common labor trafficking trait is to lure

victims by giving them hope of a better future. "Stories become weapons in the hands of human

traffickers - tales of romantic love everlasting or about good jobs and fair wages just over the

horizon."3

        11.     Rather than keep their never-ending promise that help was on the way, Gucci instead

pushed Plaintiff to reach exorbitant sales goals all alone from her at-home labor camp, while refusing




2
  National Disability Rights Network, "Human Trafficking: What It Is and How it Impacts the
Disability Community," January 15, 2021
3
  National Human Trafficking Hotline Organization, "Recognizing the Signs"

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to pay her for the hours she spent outside of store and off-the-clock. According to the Trafficking

Victims Protection Act, victims are frequently forced to work unreasonable hours, which leaves them

physically exhausted.4

          12.    To keep Plaintiff both physically and psychologically weak, isolated, and compliant

with their demands that she sell more than anyone else, Defendants intentionally excluded Plaintiff

from prestigious opportunities and events, and made her feel guilty when she attempted to take time

off.

          13.    As she consistently performed at an elite level, Defendants rewarded less-tenured,

younger, lower-selling Associates who did not suffer from depression and anxiety, by sending them

to fashion shows in Milan, Los Angeles, and New York, as well as to awards shows like the Grammys

and the Los Angeles County Museum of Art Awards (LACMA). When Plaintiff asked for metrics on

how they decided who got to attend what events, Defendants ignored her.

          14.    Management also personally benefited from the scheme, earning bonuses themselves

from Plaintiff's sales that pushed the Gucci Chicago store to make its monthly goals. As recently as

July 2023, management told her, "We made our bonus because of you," and then handed her, again,

the highest quota in the store the following month.

          15.    Defendants knew that Plaintiff was struggling to make her unrealistic sales goals. For

years, Plaintiff begged to be treated equally and pleaded for help. She consistently stated that their

abusive practices were causing her body to break down, and that she feared losing her job.

          16.    Plaintiff's coworkers confided in her that they witnessed how Defendants were

abusing her, but they never came to her aid. Instead, they watched her physically deteriorate. As just




4
    TVPA, supra note 4, 22 U.S.C. § 7101(b)(11)

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one example, an under-40, male Associate told her, "Why don't you just quit," after watching her

manager bully her.

        17.     Defendants ignored her cries for help, called her "crazy," and sometimes, to scare her,

wrote her up for petty violations that they did not write-up others for. Rather than fire her, they

increased her monthly goal, tricking her into believing that if she sold more, she would eventually be

treated equally, or even receive a breadcrumb of recognition.

        18.     Defendants kept Plaintiff in a constant state of fear of losing her job if she did not

make her constantly changing, exorbitant monthly sales quota. Plaintiff continued to work under

exploitative conditions as her hair fell out, and as she visibly wasted away into skin and bones, suffering

from physical manifestations of Defendants' disparate treatment of her.

        19.     While holding the top performer position, she consistently told Defendants that she

was suffering from exhaustion, anxiety, and depression, and that their conduct was making her

disabilities worse.

        20.     Plaintiff complained to both Gucci and Kering Human Resources (HR) that her

managers bullied her. She even asked to be transferred to another store. Defendants refused, while

transferring younger, non-disabled, less successful Associates to other locations.

        21.     Finally, in September 2022, Plaintiff emailed then-Gucci President Marco Bizzarri,

believing that the man-at-the-top, who even created a "values framework allegedly" devoted to

women's rights and equality in the workplace, would take her complaints seriously, and finally help

her.

        22.     Instead, President Bizzarri ignored Plaintiff, the female employee who brought nearly

$50M in revenue to Gucci and Kering, over her nearly 18-year career.




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        23.      Realizing that she had nowhere to turn internally, in January 2023, Plaintiff finally got

the courage to file a discrimination charge with the Equal Employment Opportunity Commission and

Illinois Department of Human Rights, alleging age, gender (female), and disability discrimination.

        24.      By finally invoking her rights, Plaintiff signed her death warrant: Over the next nine-

months, Defendants devised and executed a plan to intimidate her into quitting, or fire her if she

refused. Indeed, according to results from a University of Massachusetts student, at least 63% of

workers who filed an EEOC complaint eventually lost their job.5

        25.      First, in July 2023, Defendants suspended Plaintiff for the first time in her nearly 18-

year history with Gucci to scare and disempower her. The "Warning" listed incidents that allegedly

occurred nine months prior. Plaintiff then filed another complaint with the Equal Employment

Opportunity Commission ("EEOC") and Illinois Department of Human Rights ("IDHR"), alleging

retaliation.

        26.      Plaintiff served her suspension, then returned to work, and continued to make her

monthly goals, maintaining her #1 position in the store.

        27.      The following month, Defendants convinced Plaintiff to bring her clients into the

store for a "customization event." Unbeknownst to Plaintiff, this was part of Defendants' scheme to

get her to sell $80,000 of customized goods to her clients, to be delivered after they fired her.

        28.      Just weeks later, on October 4, 2023, Defendants terminated Plaintiff, for two

incidents that allegedly occurred on September 3 and 4, 2023. They offered her no severance,

effectively throwing her out onto the street after nearly two decades of relentless work.




5 Donald Tomaskovic-Devey and Carly McCann, Who Files Discrimination Charges, Center for Employment Equity

University of Massachusetts, Amherst


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        29.     After terminating Plaintiff, Defendants continued to unjustly enrich themselves:

Rather than pay Plaintiff for her commissions-earned related to the $80,000 in special orders, they re-

rang the orders, and gave her commissions to other Associates and Managers.

        30.     Then, Gucci sent a holiday gift to Plaintiff's former clients in her name, asking them

to scan a QR code to purchase Gucci gifts, even though she had not worked there for three months.

        31.     Plaintiff complains pursuant to the Federal Trafficking Victims Protection Act

(TVPA) of 2000, Pub. L. No. 106- 386; Illinois Trafficking Protections Victims Act, 740 ILCS 128;

Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. § 621 et seq; ADEA - Retaliation;

Disability Discrimination ("ADA"); ADA - Hostile Work Environment; ADA - Retaliation; Illinois

Human Rights Act ("IHRA") - Age, 775 ILCS 5/101 et seq.; IHRA - Disability; IHRA - Hostile Work

Environment/Disability; IHRA - Retaliation/Age and Disability; Intentional Infliction of Emotional

Distress ("IIED"); Breach of Contract; Unjust Enrichment (in the alternative); Fair Labor Standards Act,

("FLSA") 1938 29 U.S.C. § 203; Illinois Minimum Wage Law ("IMWL"), 820 ILCS § 105/1 et seq.;

and, Illinois Wage Payment and Collection Act ("IWPCA"), 820 ILCS 115.

                        EXHAUSTION OF ADMINISTRATIVE REMEDIES

        32.     On or about January 19, 2023, Plaintiff filed a charge of discrimination with the

EEOC, alleging sex (female), age and disability discrimination, as well as retaliation. The charge was

simultaneously cross-filed with the IDHR. Exhibit 1 On July 20, 2023, the Equal Employment

Opportunity Commission ("EEOC") issued the Right to Sue for this charge. Exhibit 2 On November

15, 2023, the Illinois Department of Human Rights ("IDHR") issued a notice of opt-out and

administrative closure for this charge. Exhibit 3

        33.     On or about July 6, 2023, Plaintiff was suspended for the first time, in her nearly 18-

year career. On or about July 25, 2023, Plaintiff filed a new charge of discrimination with the EEOC,

alleging age and disability discrimination, and retaliation for filing the abovementioned discrimination



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charge on or about January 19, 2023. The charge was simultaneously cross-filed with the IDHR.

Exhibit 4

        34.      On October 4, 2023, Gucci fired Plaintiff. As a result, on October 10, 2023, Plaintiff

filed a new charge, alleging age discrimination and retaliation. Exhibit 5 On October 24, 2023, the

EEOC issued a Right to Sue for this charge. Exhibit 6 On October 24, 2023, IDHR closure was

requested for this charge and is still pending. Exhibit 7

        35.      On December 11, 2023, Plaintiff filed an EEOC charge, naming Defendant Kering as

her employer, and claiming sex, age, disability, and retaliation. Exhibit 8 Also on this date, Plaintiff

filed an EEOC charge against Gucci America, Inc. d/b/a Gucci Chicago, to protect Plaintiff's sex and

disability claims. Id.

        36.      The continuing acts of employment discrimination referenced in Plaintiff’s charges of

discrimination were committed by all Defendants.

        37.      This action is being commenced within ninety (90) days of Plaintiff receiving the

Notice of Right to Sue, on October 24, 2023, for her charge, dated July 25, 2023: age and disability

discrimination, and retaliation; in addition to her additional Notice of Right to Sue, dated October 24,

2023. Her subsequent retaliation charge, dated December 11, 2023, following her termination, remains

open with the EEOC.

        38.      Plaintiff has complied with all administrative prerequisites to bring this lawsuit.

        39.      Plaintiff will seek leave to amend this Complaint to assert her claims against the parties.

See Federal R. Civ. P. 159a) (Courts “freely give leave to amend when justice so requires”), 15(c)

(Amendments “relate back” to the date of the original pleading), and 15(d) (Plaintiff may “serve a

supplemental pleading setting out any transaction, occurrence, or event that happened after the date

of the pleading to be supplemented”).

                                                    PARTIES



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        40.     Plaintiff Tracy Cohen is a resident of Cook County, Illinois, and, at all times relevant

was an employee of Defendants, working both from her residence and from the Gucci Chicago store,

until she was terminated on or about October 4, 2023.

        41.     At all times relevant, Defendant Kering is a foreign for-profit corporation with offices

headquartered at 150 Totowa Road, Wayne, New Jersey.

        42.     At all times relevant, Defendant Gucci is a foreign for-profit corporation which sells

luxury fashion and goods.

        43.     At all times material, Defendant Gucci America, Inc. is a foreign for-profit corporation

doing business within the jurisdiction, which is headquartered at 50 Hartz Way, Secaucus, New Jersey.

        44.     At all times relevant, Gucci North American Holdings, Inc. is a foreign for-profit

corporation with offices located at 195 Broadway, 12th Floor, New York, New York.

        45.     The abovementioned institutional Gucci Defendants will collectively be referred to

hereinafter as "Gucci.”

                                       JURISDICTION AND VENUE

        46.     This Court has Original Jurisdiction over Plaintiff's federal law claims pursuant to 28

U.S.C. § 1331 as these claims involve Federal Questions under the Age Discrimination in Employment

Act (ADEA), 29 U.S.C. 626 et seq, Americans with Disabilities Act (ADA), 29 U.S.C. §12101, and

Fair Labor Standards Act (FLSA) 29 U.S.C. § 206.

        47.     This Court has Supplemental Jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiff's

state law claims (Counts II, VIII-XIV, XVI-XVII), which arise out of the same nucleus of operative

facts giving rise to the federal law claims.

        48.     This Court has Diversity Jurisdiction because: (i) the federal law claims arise under the

statutes of the United States; (ii) Plaintiff and Defendants are citizens of different states, and the

amount in controversy exceeds $75,000; and (iii) the state law claims are so closely related to the



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federal law claims as to form the same case or controversy under Article III of the United States

Constitution.

        49.     The Complaint alleges violations of the Federal Trafficking Victims Protections Act

(TVPA), 18 U.S.C. § 1589 and this Court has exclusive jurisdiction over actions filed under the TVPA.

        50.     Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. § 1391(b)

because a substantial portion of the events and omissions giving rise to Plaintiffs’ claims occurred

within this judicial district. Plaintiff was employed by and terminated by Defendants in this district.

        51.     Defendants are “employers” within the meaning of the ADEA, ADA, and IHRA.

                                        FACTUAL ALLEGATIONS

          I.    DEFENDANTS' SUPPORT OF WORKING WOMEN IS A FACADE.

                    A. KERING NEVER PROVIDED PLAINTIFF WITH CAREER
                       ADVANCEMENT, DESPITE ITS GUARANTEES.

        52.     The Kering conglomerate owns Gucci, an Italian luxury fashion brand, as well as other

luxury fashion houses, including Balenciaga, Saint Laurent, Bottega Veneta, Alexander McQueen, and

Brioni. In 2022, Kering employed over 47,000 employees and generated a revenue of € 20.35 billion.

        53.     Gucci is Kering's most profitable brand in its entire conglomerate. As of December

31, 2022, Gucci had 528 stores worldwide, and generated a global revenue of about € 10.5 billion.

        54.     Kering falsely holds itself out as a place for career advancement, as well as an

ambassador for women's rights, stating:

                a)      According to Kering's Code of Ethics, "We owe our colleagues
                and staff respect and fair treatment, and the guarantee of a
                motivating work environment which respects the dignity and rights
                of all individuals, fostering development and well-being. We will
                promote a human resources policy that contributes to professionalism,
                motivation and job satisfaction for all by offering opportunities for
                training, mobility and internal promotion, and by developing the
                employability of each individual.”

                b)      Additionally, according to its Code of Ethics, "Kering does
                not tolerate any sort of harassment, discrimination, intimidation,

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               bullying or humiliating behavior, whether psychological, sexual
               or constituting an abuse of power ... Harassment means any
               repetitive voluntary pattern of hostile, abusive or humiliating behavior,
               whether in the form of verbal comments, actions or gestures which
               jeopardize the dignity or psychological well-being of a person and
               which cause a deterioration of the working environment. It may take
               multiple forms (degrading, offensive or obscene comments, rumor or
               ridicule, threats, requests to perform demeaning tasks, excluding and
               isolating people, etc.);”

               c)     A career at Kering is "the chance to grow within a
               talented and driven workforce in an environment that empowers
               imagination and values development and diversity;"

               d)    According to Kering's own "Modern Slavery Statement," it is
               committed "to eliminating child labor and prohibiting slavery,
               human trafficking, debt bondage and the use of forced or
               compulsory labor throughout the entire supply chain;

               e)   "Our pledge to our people is clear: foster an open, diverse
               and stimulating work environment where employees are
               empowered to take risks, to be inspired, to go further;"

               f)     “We provide rewarding opportunities for continuous
               professional growth, personal development and international
               mobility;”

               g)   Kering "places the employee experience at the heart of the
               Human Resources strategy."

       55.     Kering's "codes," policies," ethics" are a facade. Kering never built a supportive and

inclusive environment for Plaintiff; never rewarded her; never promoted her; never gave her

opportunities for professional growth; and never invoked an "internal system" to guarantee she was

not being exploited in her workplace.

                   B. GUCCI USES PUBLIC CAMPAIGNS AND MISLEADING JOB
                      POSTINGS TO COVER-UP ITS ABUSE OF FEMALE
                      EMPLOYEES.

       56.     In alignment with Kering's disguise of being anti-slavery and pro-women, Gucci, too,

engages in equally dishonest campaigns of convincing celebrities and everyday consumers alike that

the brand supports women.



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        57.      In Kering's job postings for Gucci roles, Gucci falsely claims to maintain a "purposeful

environment where your voice can be heard, and your personality fully expressed: We are more

than a place to work: we are a joyful and open community where unique possibilities come to

life. It’s the playground where you can amplify your skills and explore territories you never

thought possible."

        58.      Look no further than Plaintiff's complaint for the truth: Not once, in her nearly

18-year career, was Plaintiff's voice heard, or was she given a "unique" possibility to "amplify her

skills." Rather, she was required she slave away, selling Gucci product, off-the-clock and without pay

to meet her unfair sales goals, or otherwise risk being fired.

                     C. FEMALE GUCCI EMPLOYEES ACROSS THE WORLD HAVE
                        COMPLAINED OF A PSYCHOLOGICALLY ABUSIVE AND
                        HOSTILE WORK ENVIROMENT.

        59.      Plaintiff is not the first female Gucci employee to complain about being abused,

discriminated against, and forced to endure brutal working conditions.

        60.      In fact, Gucci has documented a history of refusing to address its female employees'

complaints, and then firing them when they complain:

              a) In 2010, Gucci fired a female Handbag Buyer when she was 8-months pregnant due

                 to "restructuring," then gave her job to her younger assistant. At the same time, Gucci

                 also demoted another 7-month pregnant Handbag Buyer.

              b) In 2011, female employees at the Gucci Shenzhen, China, store alleged "inhuman"

                 working conditions, including but not limited to: working long hours without payment;

                 standing for more than 14 hours a day, which caused some to terminate their

                 pregnancies; and, causing them to suffer from various occupational diseases, including

                 stomach and urinary system illnesses.




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         c) In 2011, a female tax attorney for Gucci alleged she was subjected to racial

            discrimination and sexual harassment, that her boss called her a "prostitute" and

            "cheap day labor," and that when she took a leave of absence to deal with the

            emotional distress, she was fired.

         d) In 2014, two female employees, who were fired after they complained, filed a class

            action complaint in California alleging Gucci failed to pay them minimum and

            overtime wages, or provide them with rest and meal periods.

         e) In 2016, a female employee at Gucci Chicago alleged she was sexually harassed by her

            male supervisor, received a poor performance review after she rejected him, and that

            Gucci ignored her complaints. Rather than fire him, Gucci moved the supervisor to

            Gucci Coral Gables (Florida).

         f) In 2019, Gucci forced its female runway models to walk the runway in straightjackets.

            "It is in bad taste for Gucci to use the imagery of strait jackets and outfits alluding to

            mental patients, while being rolled out on a conveyor belt as if a piece of factory meat,"

            stated model Ayesha Tan.

         g) In 2021, a transgender Gucci employee filed suit, alleging she was called "fucking

            bipolar" and "crazy," and told to "leave the business." The day the plaintiff returned

            to work from a mental health leave of absence, management called her into the office,

            which caused her to have a panic attack.

         h) In 2022, after a female Gucci Senior Media Director returned from maternity leave,

            they gave her unfair performance reviews, demoted her, and HR told her she was "free

            to quit" if she did not like her working conditions.

   II.      DEFENDANTS HIRE PLAINTIFF AND COERCE HER INTO SELLING
            MILLIONS OF DOLLARS OF PRODUCT, WITHOUT PAY, OR
            OTHERWISE RISK TERMINATION.



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                    A. PLAINTIFF EARNS #2 STORE RANKING AND COMPLAINS OF
                       DISCRIMINATION.

          61.   In 2006, Defendants hired Plaintiff (female, then-38 years old) as a Sales Associate at

Gucci Chicago, earning $16.00/hour.

          62.   Upon Plaintiff's hiring, Plaintiff learned that, prior to the start of each new month,

Defendants' corporate office assigned each store a monthly sales goal. Management then divided the

store goal amongst each Sales Associate and pushed the "team" to hit the corporate-assigned, monthly

store goal.

          63.   There is nothing more important to Gucci than sales. They monitor every single

salesperson's sales by the hour, by the day, by the month, and by the year. They reward their

Associates solely on how much they have sold.

          64.   Plaintiff also learned that each store ranked Associates by their total sales, in dollars,

sold per month. At the time, employee David Benjamin (male, then-under 40) was #1 in the store. The

store disclosed each Associate's total sales on a white board in the back room, which allowed for all

Associates to know where they ranked overall, by total sales, compared to their colleagues.

          65.   Management arbitrarily divided the store's monthly goal amongst the salespeople,

based on what management thought the particular salesperson was capable of selling for the store.

Lower-selling Associates were given lower goals, higher-selling Associates were given higher goals,

and management's favorite employees were gifted opportunities to reach their goal more easily and

faster.

          66.   Managers personally profited by earning a bonus if their store "made goal" each

month.

          67.   Sales Associates earned a commission for each sale, paid two-weeks after making the

sale. Items up to $2500 received 3% commission, and items $2500 and over earned 5% commission.




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As a result, it was in an Associate's best interest to sell higher-priced goods for two reasons: 1) they

reached their goal more quickly; and 2) they earned a higher commission.6

          68.      Gucci had a policy of paying Plaintiff her commissions every two weeks after being

earned.

          69.      If an Associate did not reach their goal, they risked getting fired. In fact, during

Plaintiff's tenure, the majority of Associates who were fired, were fired for not "making

goal." Additionally, Defendants rarely fired an Associate for other infractions, like leaving cash out,

having a messy stock room, yelling at co-workers, or allowing customers to walk-out of the store with

items without paying for them.

          70.      In 2007, Defendant's raised Plaintiff's wage to $16.50/hour. In 2008, Defendants

raised Plaintiff's wage to $16.90/hour. In 2009, her wage remained the same, $16.90/hour. In 2010,

her wage was raised to $17.10/hour. In 2011, her wage was raised to $17.27/hour. In 2012, Plaintiff's

wage was raised to $17.62/hour.

          71.      In 2012, after six years with Gucci, Defendants sent Plaintiff to Milan for Fashion

Week the first time, after she earned the #2 ranking in the Gucci Chicago store.

          72.      In 2014, Gucci gave Gucci Chicago's #1 salesperson, David Benjamin (male, under

40), a personal assistant, Jordan Conover (male, under 40). Benjamin was not required to meet any

criteria to earn that assistant. As explained below, at the time, the GG Club did not exist.

          73.      After Conover was promoted into a new role, Benjamin was able to pick a

replacement. Benjamin picked James Draft (male, under 40), promoting him from the stock room.




6 For example, if an Associate was "goaled" at $100,000 for the month and sold 100 pairs of $1,000 shoes/belts, their

commission would only be $3,000. But if the Associate sold 40 $2,500 bags, that Associate earned 5% commission per
bag, or $5,000, and met the goal 2.5x as fast by only selling 40 items instead of 100 items. Stated another way, it as in a
Sales Associate's best interest to sell higher priced goods.


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        74.     Benjamin held the #1 ranking, largely because Defendants gave him countless

opportunities, favored him, and helped him: He was sent around the globe to international fashion

shows, awards shows, celebrity events, selling events, and training experiences. This favoritism

provided Benjamin with the ability - outside of the Chicago store - to reach his monthly sales goals,

build client relationships and sell higher-priced specialty goods and jewelry.

        75.     Plaintiff relied, to her detriment, on Defendants' equal opportunities statements and

ethical claims, including a "guarantee of a motivating work environment which respects the dignity

and rights of all individuals, fostering development and well-being," and its claims of providing

"opportunities to grow from within."

        76.     In 2016, after 10 years of hard work, Plaintiff attained a ranking of #18 among

all of Gucci America's 1000+ Sales Associates.

        77.     Plaintiff, now over 40, consistently saw that she was not being treated with equal

opportunities to David Benjamin.

        78.     On or about March 11, 2016, Plaintiff emailed Manager Amy Hannaford, stating

she "felt very strongly" that she was being discriminated against on the basis of her age and

disabilities (anxiety and depression), and because she took medication for depression. She

further complained that she was being bullied, her colleagues had called her "crazy," and she was

feeling unsupported by Management.

        79.     A few hours later, Plaintiff emailed Gucci HR's Helen Papadatos, again complaining

that she believed she was not being given an equal opportunity was because of her age and disability.

        80.     Defendants refused to address Plaintiff's complaints of discrimination. Instead,

Defendants preyed on her vulnerabilities and pushed her to sell more Gucci product.

                    B. DEFENDANTS FALSELY PROMISE PLAINTIFF AN ASSISTANT
                       TO LURE HER INTO SELLING MILLIONS




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       81.      Despite complaining of discrimination, Plaintiff continued to perform and drive

revenue for Defendants.

       82.     In 2017, Plaintiff's hourly wage was increased to $20.00/hour.

       83.     Around 2017, Plaintiff started to close-in on Benjamin's #1 ranking, and she

was far ahead of the rest of Gucci Chicago's approximately 20 other Associates.

       84.     Rather than support Plaintiff, Defendants took steps to ensure Benjamin maintained

his #1 position and earned sales in manners that were against company policy. For example, when

Benjamin was on vacation, his assistant rang sales for him from walk-in customers, depriving the

working, in-store Associates of the sales. Neither Draft nor Benjamin was ever written-up for this

fraudulent conduct.

       85.     Plaintiff then asked Manager Hannaford if she too, like Benjamin, could have a

personal assistant as she believed she had earned the opportunity to also have help with her clientele.

Manager Hannaford told Plaintiff if she attained a certain, multi-million-dollar sales goal that

Gucci would give her an assistant.

       86.     Plaintiff relied on Manager Hannaford's statement, and its corporate statements that

it fostered an environment for growth and provided equal opportunities. But, unbeknownst to

Plaintiff, Gucci had no intention of giving her an assistant, and made this false promise only to

coerce her into driving millions of dollars in revenue for the Chicago store and for Defendants overall.

       87.     As a result of this promise, Plaintiff became determined to reach this very high sales

goal and quickly started to catch up to Benjamin, largely because she was working off-the-clock to

reach this goal that she would not have been able to attain by solely working on the floor in the store.

       88.     On December 19, 2017, Plaintiff reached the sales goal set by Defendants to

secure her promised assistant.




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        89.       Unbeknownst to Plaintiff, Defendants were secretly documenting her every move and

interaction, in an effort to find pretextual reasons to write her up and deny her the assistant they

promised her if she met the goal.

        90.       Defendants' first secretly documented incident was on December 9, 2017,

essentially the exact same time she attained the sales goal.

        91.       When 2018 began, Plaintiff expected to receive her promised assistant, but the

assistant never appeared.

        92.       In 2018, Plaintiff's wage was increased to $20.60/hour.

        93.       On or about February 28, 2018, Plaintiff contacted Gucci Human Resources Manager

Jessica Buquicchio. She complained that she believed Defendants' failure to provide her with an

assistant was discriminatory, i.e. that Benjamin had an assistant, and she did not, despite reaching her

assigned quota.

        94.       During the call, Buquicchio told her she would "look into" her complaint. Plaintiff

never heard back.

        95.       Plaintiff also complained to Manager Hannaford, stating she believed Gucci was

discriminating against her.

        96.       Rather than address Plaintiff's complaint, Defendants continued to push

Plaintiff to sell more Gucci, while psychologically torturing her with the false hope that she

would eventually receive an assistant. As a result, in early 2018, Plaintiff began to catch up to

Benjamin for the #1 for the Chicago store ranking.

        97.       Suddenly, on April 6, 2018, Defendant Hannaford surprised Plaintiff with a written

warning. This was Plaintiff's first disciplinary write–up ever, after working for the company for

nearly 12 years.




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        98.     The "warning" listed eight incidents that were not in chronological order or even

accurately dated. For example, one incident allegedly occurred on Friday, December 21, 2017, and

another on Saturday, December 23, 2017. The write-up included times Plaintiff complained that

management gave a sale away to Benjamin, and that his assistant was fraudulently intercepting sales

for him.

        99.     As mentioned above, Management was secretly documenting these infractions

as early as December 9, 2017, just 10 days before Plaintiff attained her sales goal for the

promised assistant.

        100.    In May 2018, Plaintiff emailed Managers Hannaford and Lisa Gutierrez disputing the

write-up, and stating she was in a no-win situation, feeling "hopeless ... I always lose, I can never stand

up for myself," and pointing out examples of disparate treatment.

        101.    On or about July 2018, David's assistant, James Draft, was promoted yet again, to

sales. In his place, Defendants gave Benjamin a new assistant named Adam Rudnicki (male, under 40).

Rudnicki was an outside hire, and thus had no tenure or experience with Gucci.

        102.    Shortly thereafter, on or about August of 2018, Benjamin was promoted to a corporate

role in New York City.

        103.    Following Benjamin's departure, Plaintiff moved into Benjamin's #1 spot at

Gucci Chicago, and, in August 2018, became #2 throughout all of Gucci America.

        104.    Defendants then told Plaintiff that she could have Benjamin's assistant (Rudnicki) but

she had to share him with two other Associates (Tyler Guzman and Jenan Saab), who were both under

40, and their annual sales were each significantly less than Plaintiff's.

        105.    Plaintiff complained to numerous people, stating she believed it was discriminatory

and unfair to make her share an assistant with Guzman and Saab,

                    C. DEFENDANTS CONTINUE TO PSYCHOLOGICALLY
                       MANIPULATE PLAINTFF.

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        106.    According to trafficking organization Polaris, trafficking networks "rob human beings

of their lives and their freedom," which is exactly what Defendants were doing here. Polaris reveals

that signs of trafficking include force, fraud, or coercion efforts that are used to prevent workers from

leaving their jobs; managers control of nearly all aspects of workers' lives and threaten them if they do

not meet their sales quotas; psychological manipulation; verbal abuse; denial of wages; and, false

promises.

        107.    Here, Defendants continued to rob Plaintiff of her life, increasing her monthly goals

without help to attain them, giving younger, non-disabled Associates more opportunities, and

consistently moving the goal posts with greater promises that never manifested.

        108.    Defendants took active steps to not provide Plaintiff with equal opportunities. As just

one example, Defendants gifted Benjamin's VIG (Very Important Gucci customer) and VVIG (over

$50,000 spend) clients to younger Associates, with less tenure, under 40 years old, and who had the

lowest sales.

        109.    As just another example of how Defendants tortured her, they refused to gift her any

of Benjamin’s top-spending clients upon his departure. Instead, they gifted these clients to younger,

non-disabled, lower-selling Associates. When Plaintiff complained, stating she believed Defendants'

gifting practices were unfair and discriminatory, and asked for metrics on how they decided who

received a former Associate's clients, she was ignored.

        110.    Meanwhile, Defendants continued to coerce Plaintiff by giving her a monthly goal that

was nearly three times the goal of the other Associates, and at least 10-15% of the store's monthly

goal. At the beginning of each month, Managers Hannaford and Kolosa would email Plaintiff her goal

and invariably say, "We are all here to support your continuous growth!" In reality, Defendants did

nothing to support her growth. Absolutely nothing.




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        111.    In early 2019, Benjamin, who was now in a corporate role and was previously Plaintiff's

direct competitor, created a "GG Club," which apparently consisted of Gucci America "top

performers." Its standards were vague, and its perks were even more vague. As detailed below,

Benjamin now had direct control over Plaintiff's opportunities, rewards and recognition.

        112.    On or about May 2019, Defendants told Plaintiff she was now getting her own

assistant, Johnny, in a ploy to keep her hooked into thinking she was now going to have help.

        113.    But when Plaintiff was not in the store, Defendants used Johnny for their own matters.

Plaintiff complained about this practice, but her complaints were ignored.

        114.    In June 2019, Kering issued a statement, stating, among other things, "... We are

committed to improving the labour standards of those who work in our supply chains and businesses.

This includes taking steps to both identify and address the risks of Modern Slavery."

        115.    Kering never talked to Plaintiff, visited her store, or asked her for feedback related to

its labor practices. If it had, it would have learned that Plaintiff was working in slave-like conditions,

selling product 24/7 without pay, and with the highest goal in the store month-after-month.

        116.    In December 2019, Johnny quit, to pursue his music career. Plaintiff was, yet again,

without an assistant.

        117.    Every time Plaintiff asked if Defendants were going to replace her assistant, Manager

Hannaford would act genuinely concerned and promise that "help is on the way," and, "we're

working on it." Plaintiff continued to perform without help.

        118.    By the end of the 2019 calendar year, Plaintiff reached an exceedingly high total

sales goal with 170 total clients, earning over 10% of the store's annual goal by herself, despite

there being over 20 other advisors.




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        119.    On or about January 2020, Gucci told Plaintiff that Rudnicki was now going to be her

Personal Assistant. Unbeknownst to Plaintiff, Defendants did not intend for Rudnicki to remain her

assistant but rather for her to train him on how to be a Sales Associate, i.e. her direct competition.

        120.    In March 2020, the COVID pandemic hit, closing the Gucci Chicago store

temporarily. Plaintiff continued to maintain her #1 ranking in the store, helping to carry the store

through the pandemic.

        121.    Upon the store re-opening, Plaintiff asked why management never celebrated her

milestones on group chats, while openly celebrating younger, less tenured and less successful

Associates.

        122.    In fact, deprivation of basic needs, like the need to just be congratulated, also creates

a "unique relationship between victim and perpetrator ... once the perpetrator has established this

degree of control, he becomes a potential source of solace as well as humiliation. “The capricious

granting of small indulgences may undermine the psychological resistance of the victim far more

effectively than unremitting deprivation and fear.”7

        123.    Then, on November 4, 2020, Defendants pulled Plaintiff into the office for her

second-ever "Written Counseling," following an incident where she complained that walk-in clients

were being abusive to her.

        124.    Manager Hannaford told Plaintiff she must "strive to be a continuous learner," and be

"curious to learn" and, if she had complaints, to report back to herself or Kolosa, the very people who

consistently bullied her and ignored her complaints.




7
 LEWIS HERMAN, M.D., TRAUMA AND RECOVERY 77 (Basic Books 1992), supra note 12, at
77.



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        125.   Defendants did not give Plaintiff any "Counseling."8 Despite claiming to champion

equality in the workplace, Defendants failed to provide her with "learning" tools, or training modules

to fix her “bad” behavior.

        126.   In reality, the written "counseling" was yet another tool, meant to further scare

Plaintiff, particularly because Defendants could have easily terminated her employment, but instead

chose to keep her because they were earning millions of dollars off of her back.

        127.   Then, days after Christmas, on December 27, 2020, Defendants told Plaintiff they

were taking away her assistant (Rudnicki) because he, too, was being promoted to sales. As a result,

Rudnicki (male, under 40) was now her direct competition.

        128.   Plaintiff sent an email complaint to Defendants. In response, "Chief People Officer"

Lucinda Rosso told her, "You have no claim for discrimination."

        129.   By December 31, 2020, Plaintiff was again the #1 Associate in the store for the year

2020.

        130.   By 2021, Plaintiff's PTO balance was 300 hours, working on the false promise that if

she reached the new sales goal, she would finally be rewarded an assistant.

        131.   Additionally, Management consistently made Plaintiff feel guilty when she requested

time off, by saying things like, "Well, you know it's going to be a busy day and you'll miss a lot of

sales;" "We really need your numbers," We are up against big numbers from last year," and "We were

counting on you to help us." Plaintiff always caved to the pressure.




8
 According to Merriem-Webster, "counseling" is professional guidance of the individual by utilizing
psychological methods especially in collecting case history data, using various techniques of the
personal interview, and testing interests and aptitudes https://www.merriam-
webster.com/dictionary/counseling

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        132.      On or about January 17, 2021, Defendants presented Plaintiff with a Gucci America

Commission Plan - Commission Rate Form, effective December 27, 2020. Plaintiff signed the

document, stating, "Signing but not 100% clear on understanding." Exhibit 9

        133.      Now without an assistant, Defendants continued to assign Plaintiff with sales goals

that were 2-3 times greater than anyone else's in the store, that she had to attain on her own, on her

days off, and off-the-clock.

        134.      Defendants psychologically tortured Plaintiff by actively attempting to prevent her

from reaching her monthly quota. In fact, in February 2021, Plaintiff complained to Lucinda Rosso,

stating she had to be "glued to her phone all day" and was constantly "nervous" about her business

because Management actively worked to either not help her or actively give her sales away, which

directly affected her monthly quota. Plaintiff documented this practice until her eventual firing, as

detailed below.

        135.      Defendants also gave other younger, lower-performing Associates numerous

opportunities to grow their books of business and reach their individual sales goals.

        136.      In March 2021, Plaintiff complained to Corporate Managers Chloe Battah and

Courtney Hahn, as well as to Jessica Buquicchio and Lucinda Rosso at Gucci HR, about her working

conditions, writing, "Things are becoming increasingly unbearable for me at my location. This is the

third time over the last week I've left crying."

        137.      Plaintiff also complained that Management told her she could not take time off, while

allowing two Associates, with less tenure, less sales, and who were under 40, to take time off.

        138.      In May 2021, Defendants suggested Plaintiff take FMLA - which she declined - rather

than address her complaints of discrimination and abusive working conditions. Plaintiff wrote

Buquicchio, "I already see a therapist and he thinks you are all putting me through a nightmare




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..." Plaintiff further complained, in writing, that she was feeling "extremely hopeless and

depressed."

        139.    And yet, Plaintiff continued to out-perform the entire Gucci Chicago store and most

of Gucci America.

        140.    Unbeknownst to Plaintiff, at the same time, Susan Chokachi, then-President and

CEO of Gucci America, questioned another female employee's "stamina to return to work"

after she had baby, and warned the female employee not to seek further accommodations beyond

working from home, despite everyone else working from home during COVID. Over the course of

the next six months, Gucci demoted the female employee as part of an alleged "reorganization," gave

her a negative performance review that she unsuccessfully attempted to refute, and then, attempted

to get her to quit.

        141.    Unbeknownst to Plaintiff, Lucinda Rosso told the abovementioned female employee,

who had also complained of discrimination, that she was "free to leave," and because she was an

at-will employee, Gucci was "free to fire" her. Rosso also told the woman that Gucci found "no

evidence" of discrimination.

        142.    While receiving Plaintiff's complaints of discrimination, abuse, and psychological

torture, Defendants continued to increase her sales quota, while watching her spiral into a deeper

depression.

        143.    Indeed, "high rates of emotional, behavioral, and psychological problems have been

reported by trafficked and sexually exploited women, with the majority of women reporting symptoms

such as depression or sadness, guilt and self- blame, anger and rage, and sleep disturbances."9


9
 See JANICE G. RAYMOND ET AL., A COMPARATIVE STUDY OF WOMEN
TRAFFICKED IN THE MIGRATION PROCESS: PATTERNS, PROFILES, AND HEALTH
CONSEQUENCES OF SEXUAL EXPLOITATION IN FIVE COUNTRIES (INDONESIA,
THE PHILLIPINES, THAILAND, VENEZUELA, AND THE UNITED STATES) 71-73 (2002),


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       144.    Meanwhile Rudnicki - Plaintiff's former-assistant-turned-direct-competition - called

one of Plaintiff's top-spending clients and made derogatory comments about her age, in an attempt to

steal the client away from her. She reported his conduct to management. Her complaint was ignored.

       145.    On or about June 2021, Plaintiff told HR's Buquicchio and Store Manager Hannaford,

that she was "very worried" about herself after urinating in her pants on the sales floor because she

was "trying so hard to service clients and clean and recover after each one." She further complained

about favoritism and discrimination.

       146.    On June 18, 2021, Gucci Executive VP-Retail Tommaso De Vecchi presented Plaintiff

with a letter stating Gucci was "thrilled" to name her "Master Client Advisor," and include her in the

"Class of 2021 GG Club" for having reached exceedingly high net sales for 2020.

       147.    This "Club" falsely promised to provide Plaintiff "experiential rewards,” “training

opportunities,” and “enhanced rewards." As detailed below, Plaintiff was given nothing of the sort.

       148.    Additionally, as part of its scheme to exploit Plaintiff and continue to lure her into

selling more Gucci product, Defendants continued to promise her trips, and told her to "hold out"

for an assistant. Manager Hannaford told her they were "trying" to get her to Italy, and continued to

promise that soon things would "get better" for her, while they sent others on trips and opportunities.

       149.    Defendants posted her coworkers international work trips on Facebook and other

internal messaging platforms, which caused Plaintiff extreme sadness because she was not included

and Defendants refused to tell her why not.

       150.    In November 2021, Plaintiff was invited to her second-ever fashion show, after

having not been invited for an entire decade. During that decade, Defendants sent younger

employees, with less tenure and less sales, to fashion shows and other global experiences. Every time

Plaintiff asked why she was being excluded, and what Defendants' criteria was for who got to go, they




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gave her a different reason. When Plaintiff complained that their practices were discriminatory, they

ignored her.

         151.   In November of 2021, Plaintiff complained to Defendants that she was experiencing

increased depression, anxiety, and panic attacks. Defendants ignored her.

         152.   In response, Lisa Gutierrez called her “crazy,” which Plaintiff reported to Defendants,

multiple times, on or about December 2021. Other times, Gutierrez called Plaintiff "paranoid," and

"erratic," and said, "You need to make a life choice; if you don't like it here you can leave."

         153.   Following this incident, Plaintiff complained, again, that she was being exploited,

stating, "A crazy making no win situation where I’m told to have work life balance and take care of

my health and rest but also given huge goals ... I have told my managers this/ I have pushed myself

very hard here and I’m only one human being and it’s a constant double bind ..." Defendants ignored

her.

         154.   Plaintiff then asked HR's Buquicchio if she could transfer stores, which Defendants

refused, further trapping her in her environment. Defendants, however, allowed younger, less tenured

Associates to transfer stores.

         155.   Instead, Buquicchio emailed Plaintiff Kering's FMLA forms, again, while management

continued to assign Plaintiff the highest goal in the store, forcing her to work 24/7 without an

assistant, and without pay when she was working outside of the store.

         156.   Plaintiff also complained to Kering's VP of Human Resources, Vanessa Bullen, who

offered for her to participate in a free, 8-week therapy program through Aetna, "proven to reduce

depression, stress, and anxiety." Plaintiff explained she already had a therapist, and was seeking equal

treatment, and freedom from exploitation.

         157.   And yet, throughout all of 2021, Plaintiff was not invited to a single selling event or

fashion show. She watched as other Associates, under 40, with fewer sales and with less tenure, were



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sent to fashion shows and selling events, trips to Italy, trips to other countries, in-store training, and

buying experiences with clients.

        158.    Additionally, Plaintiff learned that Defendants gave an assistant to a Sales Associate in

Costa Mesa, who was a male, under 40, and who joined in 2020.

        159.    Without an assistant and with the highest goals in the store, not only was Plaintiff

required to sell 24/7, but she was required to get permission from a manager to go into the store on

her days off, pull product, ship product, enter the sale in the system, and complete the transaction

from start to finish.

        160.    Furthermore, not only did Defendants deprive her of opportunities given to younger

or male Associates, they did nothing to recognize or reward Plaintiff for her sales. Rather, Defendants

recognized and rewarded other Sales Associates who sold less than Plaintiff, who were younger, and

who had less tenure.

        161.    Despite 2021 being her biggest selling year ever, and despite being arguably Gucci

America's most veteran, top-selling advisor, Plaintiff learned that Defendants were demoting her from

Master Client Advisor to Elite Client Advisor, which was the lowest ranking in the “GG Club.” This

demotion was in retaliation for her complaints about discrimination.

        162.    For the calendar year 2021, Plaintiff personally sold over $5.1 Million in Gucci

product. The above-mentioned 2021 commission structure was four-tiered, with the top-tier paying-

out $20,000 for $4 Million in personal sales. When she asked if there was an additional bonus for

reaching $5M, she was told no, and paid the top-tier commission.

        163.    Defendants failed to provide Plaintiff with an explanation as to why she was being

demoted. In fact, when she questioned the title demotion, Manager Laura Desai, a new hire, told

Plaintiff that she "did not know what the word 'demotion' meant." And yet, with this lower title, she

was less eligible for training opportunities, awards, and ... an assistant.



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        164.    When Plaintiff questioned Manager Hannaford directly, Hannaford told her, "I have

no additional information ... You had an incredible year which everyone has acknowledged. I would

stay focused on this."

        165.    Plaintiff complained in writing to Managers Amy Hannaford and William

Blomquist, stating, "I don't think it's fair to expect this volume from me anymore. It's

humanly impossible." They ignored her plea for help.

        166.    In January 2022, Defendants distributed a new commission plan structure to Plaintiff.

Interestingly, this structure suddenly added a new top tier, to $5M, despite telling Plaintiff, who sold

over $5M in 2021, that it did not exist. This new structure provided for $25,000 commission-bonus.

Exhibit 10

        167.    On or about March 10, 2022, Plaintiff contacted Tommaso De Vecchi, Gucci’s

Executive Vice President of Retail and Wholesale, asking him about the promised assistant. De Vecchi

told Plaintiff, "Stay tuned, we are working on something that definitely answer [sic] to the needs you

highlight. We just need a bit more of time to fine tune last details."

        168.    Whatever De Vecchi and Defendants were "fine tuning" never revealed itself. Rather,

Defendants gave two (2) Sales Associates - both males and under 40 - their own assistants.

        169.    Defendants also blatantly discriminated against Plaintiff's customer, on the

basis of his age. On or about March 2022, Management asked Associates to nominate their top

clients for Billie Eilish concert tickets. When Plaintiff nominated an older male, Defendants

rejected him, stating, "I believe Corporate is looking for Gen Z or Millennial clients ... He

may be suited for Elton John."

        170.    Plaintiff complained, stating that they were discriminating against her older client. Just

days later, Defendants retaliated against Plaintiff, dropping her customer experience "NPS" score, and

stripping of her “Master Client Advisor” title to “Elite Client Advisor."



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        171.   On or about July 2022, Plaintiff was struggling with abusive clients and did not want

to help them anymore. Only twice in her entire career had Plaintiff asked management to take over a

customer. After watching her struggle, management finally came to her aid.

        172.   On or about September 2022, James Draft (male, under 40) was transferred to Beverly

Hills, upon receiving a promotion. Defendants, however, continuously rejected Plaintiff's requests for

a transfer.

        173.   Also, in September 2022, Defendants sent Plaintiff on a "Top Performer" trip,

her second-ever trip to Milan in her career. This trip, however, was used to trick her into thinking

that they did, indeed, provide her with equal opportunities.

        174.   On the way back from Milan, Plaintiff learned that Rudnicki, her former assistant-

turned-competitor, took credit for a sale from one of her known VIG clients, which was against

company policy. Plaintiff complained.

        175.   Just four days after she complained, management called Plaintiff into the office and

gave her a write-up for the above-mentioned incident in July, approximately two months

earlier. When management accused her of having "bad customer service," she disputed their

allegations, stating she had a perfect customer service score, and questioned why she was not protected

in her workplace from abusive customers.

        176.   Defendants did not place Plaintiff on a Performance Improvement Plan or provide

her with opportunities to correct her behavior because she did not need to correct her behavior.

Instead, the write-up was a tool to bully, intimidate, and scare her. Manger Kolosa told her, "Why are

you upset? This won't stop you from getting an assistant next year." Kolosa was lying. She knew

Defendants had no intention of giving her an assistant.




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        177.    Defendants continued to watch Plaintiff physically deteriorate from both her

disabilities of anxiety and depression, coupled being forced to work 24/7 to reach the highest goal in

the store, month after month.

        178.    Plaintiff consistently complained to Defendants that she was suffering from anxiety

and depression; that her body was breaking down, and she was struggling with ulcerative colitis due

to work-related stress; that she was on anti-anxiety medication; and, that she was in therapy for

depression and anxiety. Plaintiff told Defendants that she needed help and begged for equal treatment.

Her requests and complaints were ignored.

        III.    PLAINTIFF SIGNS HER DEATH WARRANT BY FILING AN OFFICIAL
                EEOC COMPLAINT

                    A. Plaintiff contacts Gucci CEO Marco Bizzarri via her lawyer

        179.    In mid-2022, Plaintiff finally retained a lawyer. Initially, Plaintiff was afraid to file an

official complaint, believing that, if she did, Gucci would fire her.

        180.    On September 28, 2022, through counsel, Plaintiff sent Gucci's then-CEO Marco

Bizzarri a letter, laying out her accolades, as well as her complaints of discrimination and

exploitation in her workplace. Exhibit 11

        181.    CEO Bizzarri ignored the letter from his top-selling female employee, despite

claiming that Gucci had "guiding principles" that included ensuring an inclusive workplace for all

employees by providing ongoing training programs, resource groups and open dialogue in order

to enhance communication, understanding and empathy; closing the gender pay gap for

equivalent positions within the organization by 2025; and, creating greater opportunities in

the workplace for people with disabilities.

        182.    And yet, Bizzarri never provided Plaintiff with "greater opportunities" other than

pushing her to reach a monthly goal, outside of the workplace and without pay, living in a constant

state of fear that if she did not perform, she would be fired.

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         183.     In November 2022, Defendants cut the maximum number of hours salespeople could

work, from 40 to 35. And yet, Defendants increased Plaintiff's December goal to the highest goal in

the store.

         184.     Again, it was not humanly possible to reach her quota by selling only in the store, over

the course of 140 store hours (35 hours x 4 weeks) per month. As a result, Plaintiff worked off-the-

clock and around-the-clock, unpaid, to meet this goal.

         185.     Throughout 2022, when Plaintiff complained about her goal being too high,

management a

         186.     In December 2022, Plaintiff again met the astronomical goal. And, yet again,

Plaintiff was #1 for the entire 2022 calendar year in the Gucci Chicago store, having sold

millions of dollars in product, far beyond anyone else.

         187.     In January 2023, Plaintiff's father was dying, and was in local hospice care. Defendants

knew she was struggling to manage her workload while attempting to manage his imminent death.

         188.     Rather than help their 18-year veteran during this life event, Defendants used this as

an opportunity to further traumatize her, deliberately giving her top clients to other Sales Associates,

under 40, which was also against store policy.

         189.     As just one example, Manager Kolosa, a "Schemer,"10 saw one of Plaintiff's top clients

enter the store and notified the Associates in the group chat. Rather than help Plaintiff's client and

give the sale the Plaintiff (who was not in the store), Kolosa gave the sale to a younger, less tenured,




10 "Take the 'Screamer,' who is associated with yelling and fist-banging or the quieter but equally dangerous “Schemer”
who uses Machiavellian plotting, gaslighting, and smear campaigns to strip others of resources or push them out. The
Schemer doesn’t necessarily have a position of legitimate power and can present as a smiling and eager-to-help colleague
or even an innocent-looking intern. While hostile motivation and overt tactics align with the Screamer bully archetype
and instrumental, indirect, and covert bullying is typical of the Schemer, a bully can have multiple motives and use
multiple tactics — consciously or unconsciously." https://hbr.org/2022/11/how-bullying-manifests-at-work-and-how-
to-stop-it


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lower-ranking Associate. Kolosa knew it was against store policy, that Plaintiff would learn about what

she did, and that it would upset Plaintiff, but Kolosa did it anyway.

        190.    In January 2023, Plaintiff learned that Aneta Mysliwiec (under 40 and ranked lower in

sales), was quietly sent to Milan Fashion Week for Gucci’s first stand-alone Men’s Show in three

years. Plaintiff was not invited to Milan, without explanation. When she asked management about this,

they told her, "It's nothing personal."

        191.    Mysliwiec, who joined Gucci in 2015, had a store ranking that fluctuated between 11

and 7. Not once did she possess the #1 position in the store. And yet, Defendants invested in her,

rather than in Plaintiff, sending her to the following events, including but not limited to:

            a) DIY training in Milan, 2018 - Plaintiff had never been to a DIY training.

            b) Fine jewelry event in Paris, July 2019 - Plaintiff had never been sent to a fine jewelry
               event.

            c) 7 fashion shows between 2018-2023 - Plaintiff had only been sent to 2 fashion shows
               between 2018-2023.

            d) Elton John Oscar Party - Plaintiff had never been sent to an Oscar Party.

            e) The LACMA (Los Angeles County Museum of Art) Awards - Plaintiff had never been
               sent to this Awards show.

            f) Approximately 8-9 worldwide events, including Paris and LA.

            g) 2 private in-store events - Plaintiff was never given an in-store event.

        192.    When Plaintiff asked why Mysliwiec was given these opportunities and she was not,

she was ignored.

                    B. PLAINTIFF FILES AN EEOC COMPLAINT

        193.    Upon realizing that if CEO of Gucci was not going to sound an alarm, an immediately

come to her aid, Plaintiff filed a complaint with the EEOC, on January 19, 2023, alleging

discrimination and retaliation.




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        194.    In response to Plaintiff finally seeking to legally enforce her rights, Defendants

engaged in an organized effort to retaliate against her by seeking to fire her and destroy the livelihood

she had maintained for nearly 20 years.

        195.    Now knowing that Plaintiff's primary complaint was that Defendants had a

discriminatory assistant-giving practice, Defendants temporarily took away the assistants from those

who had them, rather than, finally, give her an assistant.

        196.    Then, in February 2023, Plaintiff was again accepted into the GG Club as "Executive

Client Advisor," meaning she was top 1% of all advisors in North America, top 1% of sales, top 1%

of NPS customer service ranking, and highest sales-by-appointment in the company.

                    C. DEFENDANTS RETALIATE AGAINST PLAINTIFF FOR FILING
                       AN EEOC COMPLAINT

        197.    In June 2023, Plaintiff was, again, given the highest goal in the store. When she

complained, again, management told her, "You always kill it."

        198.    During June, while Plaintiff was on PTO, Manager Kolosa, yet again, gave away

Plaintiff's VIG customer's sale to another Associate. Again, not only was this against policy, but

Defendants did this to bully, terrorize and retaliate against Plaintiff.

        199.    Despite personally ignoring Plaintiff's letter to him, begging for equal treatment and

to be heard, CEO Bizzarri staged a "Chime for Change" puff piece for Gucci, stating, " The changes

that we need to see in my lifetime, is a world where leaders, companies and ordinary people convene

and try to unite all the voices that speak out for gender equality. If we are able to create the conditions

to make people understand that there is a possibility to be safe, to be listened to, to be heard. My name

is Marco and I chime for equality, opportunity, dignity and safety."11




11 https://youtu.be/kJizJEUp9_s?si=ST7Y6PO7IpKkeBn6




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          200.   On July 1, 2023, Manager Hannaford approached Plaintiff, in front of Gutierrez, and

said, "We made our June bonus because of you."

          201.   On July 1, 2023, the last day of the fiscal month, Managers Amy Hannaford and Tracie

Hepper approached Plaintiff while she was on the floor and carrying out her job duties, in the presence

of other Associates and active customers, and told her, "We know it's not fair but we goaled you for

$305,000 for July."

          202.   This was the first time in Plaintiff's nearly 18- year career where she was given her sales

goal while doing business and in front of others, on the last day of the fiscal month - instead of in

email format on the first day of the new month. Management did this to deliberately to cause her

stress, and force her to act out, despite knowing that she suffered from depression and anxiety.

          203.   In response, Plaintiff said, "If it's not fair, then why are you telling me this?"

Defendants watched as Plaintiff started shaking and having a panic attack, as she realized,

again, that she would not be able to take time off because she would have to work 24/7 to make her

goal.

          204.   Plaintiff then learned that she had not been invited to the "top performer" gala in Italy,

along with the other Executive Client Advisors. Plaintiff complained to Manager Hannaford and HR's

Laura Desai, stating she believed she was being excluded as a form of retaliation her for complaint

about discrimination, as there was no other plausible reason why she was being excluded. Defendants

ignored her complaint.

          205.   On July 6, 2023, Plaintiff received an email thanking her for making the June goal and

her excellent results in June, and again reiterating that her July goal was $305,000, despite knowing

that she had complained that it was too high, particularly because she was seeking time off. Plaintiff

complained again and asked if the goal would be prorated for her requested time off.




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        206.    Several hours later, Plaintiff was called into the office and told that she was being

suspended, and was "under investigation" for events that "happened over the weekend." When

Plaintiff asked for an explanation, management told her, "You know what they are." This was the

first time Plaintiff had ever been suspended in her nearly 18-year career.

        207.    The "over the weekend" incident was that Plaintiff called Manager Hannaford, begging

her for help, stating she believed Kolosa was setting her up. During that call, Hannaford told her,

"Don't worry, I have your back."

        208.    Indeed, "Verbal abuse, humiliation, threats, and other forms of psychological abuse

represent deliberate attempts to break down the will of individuals ... [and] are often used to induce

the sense of ‘learned help- lessness,’ that the abuse continues whether or not the victim cooperates.”12

        209.    Defendants told Plaintiff that she could still sell from home, but she could not have

contact with any of her coworkers while she was "under investigation," further isolating her from her

peers, further traumatizing her, and further scaring her to prove that she could perform her job.

        210.    While Plaintiff was at home serving her 5-day suspension - and selling from her at-

home labor camp to make her goal - she watched from the group chat as the other Associates broke

rules with impunity: the stock room was in shambles, one Associate's customer walked out with a

piece of jewelry without paying for it, and another Associate left money in the cash counter, among

other fire-able offenses.

        211.    On July 11, 2023, management then called her and said, "You're welcome to return to

work tomorrow."

        212.    When Plaintiff returned to work, on July 12, 2023, management called her back into

the office, and handed her a "Final Written Warning." The "warning" accused her of calling Hannaford


12
 PHYSICIANS FOR HUMAN RIGHTS, INTERROGATIONS, TORTURE AND ILL
TREATMENT: LEGAL REQUIREMENTS AND HEALTH CONSEQUENCES 8 (2004)


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on her day off, and also listed other alleged violations of company policy that occurred over 9 months

prior, despite the company previously stating that all write-ups fall off after 90 days. Plaintiff asked

for an explanation of the 90-day policy that she believed existed. Management refused to answer her.

        213.    Defendants then invited Plaintiff on a trip to NYC, only to cancel the invitation days

later, in an effort to further confuse and traumatize her. Defendants refused to explain why they

revoked the invitation.

        214.    Plaintiff asked Defendants if they intended to reduce her July quota, given that she

had not worked for 5-days in the store. Defendants did not respond, so Plaintiff continued to work

to reach her goal.

        215.    On or about July 25, 2023, Plaintiff filed a second charge with the EEOC, alleging that

the suspension was a form of retaliation.

        216.    Plaintiff earned, again, the #1 ranking in the store for the month of July 2023.

        217.    Defendants then told Plaintiff, on August 8, 2023, that they had reduced her July goal,

which was moot.

        218.    On or about September 6, 2023, Hannaford knew Plaintiff was not working.

Hannaford, however, needed over $6,000 in sales to reach the store's goal, asking the group to help

her reach the goal. Plaintiff called her top-spending client, and made a sale over $11,000, which allowed

Hannaford to make the store's goal. Plaintiff, however, was not paid for her off-the-clock time in

making this sale.

        219.    In September 2023, Defendants lured Plaintiff into bringing her top clients into the

store for a "high-end customization event" where they had to pay, in full, for their items that would

be delivered on a later date.

        220.    At the "event," Plaintiff singlehandedly pre-sold $80,000 worth of Gucci product to

her clients. Plaintiff reasonably believed she had earned commissions for these sales.



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        221.    In September 2023, Plaintiff was, again, assigned the highest quota in the Gucci

Chicago store. And yet, during a virtual sales appointment, a corporate salesman refused to help

Plaintiff and her customer. Her client complained to Gucci about how both she and Plaintiff were

treated. Plaintiff emailed Managers Amy Hannaford and William Blomquist that she believed this was

retaliation for her EEOC complaint.

        222.    Also in September 2023, Defendants held their annual fashion show in Milan, Italy,

which Plaintiff was not invited to. Plaintiff complained to Defendants that being excluded from

Fashion Week, yet again, was unfair and retaliation for having filed the EEOC complaint. Plaintiff

asked Defendants for the metrics on how they determined who was invited, to no avail.

        223.    During this time, Defendants' attorneys stated they were interested in mediating her

discrimination complaint, but then, disappeared, refusing to answer Plaintiff's lawyer's emails.

        224.    Then, on October 4, 2023, Management called Plaintiff into the office and told her

she was being fired for two incidents a month earlier, on September 3 and September 4, 2023. In both

of these incidents, Plaintiff had gone to management, seeking their help.

        225.    In firing Plaintiff, without any severance, Defendants knew Plaintiff would struggle to

find alternative work in a similar space, after nearly devoting nearly 18-years to Defendants.

                    D. EVEN AFTER THEY FIRE HER, DEFENDANTS CONTINUE TO
                       UNJUSTLY ENRICH THEMSELVES.

        226.    Not only did Defendants not pay Plaintiff her commissions earned the high-end

customization event where she sold $80,000 in Gucci product, in September 2023, but they

intentionally redirected her commissions to other Associates and Managers.

        227.    Specifically, when the items arrived in the store, after Plaintiff was fired, Management

notified her former clients, then, when they arrived in the store, Defendants returned the items sold

under Plaintiff's name, then re-rang them, in other employees' names. In fact, Plaintiff's former clients

texted her their receipts, showing her what Defendants were doing.

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        228.    Then, to intentionally traumatize her further, Defendants immediately started to

contact her multi-million-dollar book of business, that she built over the course of nearly-18 years,

including 9 VVIG's and 42 VIGS, the most of any Associate at Gucci Chicago. To date, they continue

to tell her clients things like "we miss you," and offer them perks that they did not offer to them when

they were working with Plaintiff. Some Associates told Plaintiff's clients that she quit.

        229.    In December 2023, over two months after firing Plaintiff, Defendants sent a holiday

gift to her other former clients (that did not know she had been fired), along with a letter claiming to

be signed by her, asking then to scan a QR code and purchase items.

        230.    Defendants engaged in a continuous practice of discrimination. Plaintiff makes all

claims herein under the continuing violations doctrine.

        231.    Defendants engaged in a pattern and practice of both discrimination and retaliation.

        232.    Defendants’ theft of her commissions, and years-long abuse of her, have caused her

to sustain serious and permanent personal injuries, including permanent psychological injuries.

        233.    Plaintiff further claims aggravation, activation and/or exacerbation of any preexisting

condition, including depression and anxiety, and all physical manifestations of these diagnoses.

                                           CAUSES OF ACTION

                                             COUNT I
          Violation of Trafficking Victims Protection Reauthorization Act, 18 U.S.C. § 1589
                                       (Against All Defendants)

        234.    Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

        235.    The Trafficking Victims Protection Reauthorization Act (TVPA) allows for a private

cause of action against anyone who “knowingly provides or obtains the labor or services of a person

by any one of, or by any combination of, the following means—(1) by means of force, threats of force,

physical restraint, or threats of physical restraint to that person or another person; (2) by means of



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serious harm or threats of serious harm to that person or another person; (3) by means of the abuse

or threatened abuse of law or legal process; or (4) by means of any scheme, plan, or pattern intended

to cause the person to believe that, if that person did not perform such labor or services, that person

or another person would suffer serious harm or physical restraint.” 18 U.S.C. §1589(a).

          236.    The TVPA also provides a private cause of action against anyone who “knowingly

benefits, financially or by receiving anything of value, from participation in a venture which has

engaged in the providing or obtaining of labor or services by any of the means described in [§1589(a)],

knowing or in reckless disregard of the fact that the venture has engaged in the providing or obtaining

of labor or services by any of such means ...” 18 U.S.C. §1589(b).

          237.    To successfully plead a forced-labor claim under §1589, Plaintiff must adequately

allege that Defendants used "threats of serious harm" to obtain her services. "Serious harm" "means

any harm, whether physical or nonphysical, including psychological, financial, or reputational harm,

that is sufficiently serious, under all the surrounding circumstances, to compel a reasonable person of

the same background and in the same circumstances to perform or to continue performing labor or

services in order to avoid incurring that harm." 18 U.S.C. § 1589(c)(2).

          238.    "Section 1589 is not written in terms limited to overt physical coercion, and we know

that when Congress amended the statute it expanded the definition of involuntary servitude to include

nonphysical forms of coercion.". See United States v. Calimlim, 538 F.3d 706, 714 (7th Cir. 2008)

          239.    Abuse of power or the vulnerability of others means the victim “believes he or she has

no reasonable alternative but to submit to the labor or service demanded..."13 Such coercion includes

but is not limited to taking advantage of the vulnerabilities resulting from the person having entered

the country illegally or without proper documentation, pregnancy, any physical or mental disease or



13
     Model Law to Combat Trafficking in Persons, supra note 6, art. I, sec. 108.


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disability of the person, including addiction to the use of any substance, or reduced capacity to form

judgments by virtue of being a child (emphasis added).

        240.    Defendants violated 18 U.S.C. §1589(b) by knowingly receiving benefits, financial or

otherwise, from the scheme, plan or pattern of abuse towards Plaintiff, and these ventures were

designed to obtain labor or services from Plaintiff by means prohibited under 18 U.S.C. §1589(a),

including but not limited to:

            a) Consistently giving her the highest goal in the store, despite her complaints that she
               could not physically keep up with the quota;

            b) Consistently refusing to give her help, despite helping others;

            c) Intentionally taking sales away from her, which adversely affected her quota and
               further caused her increased anxiety and depression;

            d) Repeatedly making comments about her age, including, "Gen Z is where it's at," which
               made her feel insecure about keeping her job as the oldest client advisor in the store;

            e) Gaslighting her by ignoring her complaints about disparate treatment, and then writing
               her up for her complaints;

            f) Calling her "crazy" despite knowing she had anxiety and depression; and,

            g) Shaming her when she requested time off, and making her work off-the-clock to
               achieve her humanly impossible goal.

        241.    Defendants knew she had a mental condition of depression and anxiety, and preyed

on her condition, which thereby caused Plaintiff to believe she had no reasonable alternative but to

submit to Defendants' labor demands.

        242.    Defendants knowingly obtained the labor and services of Plaintiff in violation of 18

U.S.C. § 1589(a)(2) by means of serious harm, including but not limited to:

            a) Causing her increased depression and anxiety;

            b) Placing her in constant fear of losing her job if she did not make her goal;

            c) Forcing her to work without pay;

            d) Causing loss of hair, loss of bladder control, and loss of sleep;

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            e) Suspending her for pretextual reasons for filing an EEOC complaint; and,

            f) And, then, terminating her for pretextual reasons; thereby, proving that her fear that
               she if complained, Defendants would destroy her livelihood.

        243.    Defendants knew, or acted in reckless disregard of the fact that the aforesaid ventures

engaged in providing or obtaining Plaintiff's labor or services by means prohibited under 18

U.S.C. §1589(a).

        244.    Wherefore, Plaintiff is entitled to damages in an amount to be determined at trial,

including, without limitation, damages to physical well-being, emotional and psychological damages,

past and future economic losses, loss her career; punitive damages; and, prejudgment interest,

attorneys’ fees, expenses, costs and disbursements.

                                                COUNT II
                 Violation of Illinois Trafficking Protections Victims Act, 740 ILCS 128
                                         (Against All Defendants)

        245.    Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

        246.    Defendants knowingly subjected Plaintiff to provide labor and services obtained

through a scheme of abusive and coercive behavior intended to cause Plaintiff to believe that if she

did not provide that labor and those services, she would suffer serious harm, as described by the

involuntary servitude provisions of the Trafficking Victims Protection Act, 740 ILCS 128/10, and the

Illinois Criminal Code of 2012, 720 ILCS 5/10-9(7.5), (10)(b)(6).

        247.    The serious harm Defendants caused Plaintiff to believe she would suffer, and did

suffer, includes, but is not limited to, non-physical harm including but not limited to financial harm:

terminating her from her job, for pretextual reasons, after nearly 18-years of employment.

        248.    Defendants knowingly subjected Plaintiff to provide labor and services obtained by

using physical harm - hair loss, panic attacks, incontinence - intimidation over Plaintiff, as described

by the involuntary servitude provisions of the Trafficking Victims Protection Act, 740 Ill. Comp. Stat.

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128/10, and the Illinois Criminal Code of 2012, 720 Ill. Comp. Stat. 5/10-9(10)(b)(1), (5). The physical

harm, intimidation, and financial control includes, but is not limited to:

            a) Physical harm stemming from sleep deprivation, incontinence, loss of hair;

            b) Intimidation stemming from constantly increasing Plaintiff's quota every month;

            c) Financial control by failing to pay her earned wages, thereby depriving Plaintiffs of any
               livelihood or assets; and,

            d) Reputational harm by firing her without cause after she devoted her entire career to
               Defendants.

        249.    Plaintiff brings this claim under the civil cause of action for victims of involuntary

servitude in 740 Ill. Comp. Stat. 128/15(b-1).

        250.    As a direct and proximate cause of Defendants’ actions, Plaintiff has sustained

damages, including physical and mental injury and economic loss.

        251.    Wherefore, Plaintiff is entitled to damages in an amount to be determined at trial,

including, without limitation, damages to physical well-being, emotional and psychological damages,

past and future economic losses, loss her career; punitive damages; and, prejudgment interest,

attorneys’ fees, expenses, costs and disbursements.

                                     COUNT III
                 VIOLATION OF AGE DISCRIMINATION EMPLOYMENT ACT
                                (Against All Defendants)

        252.    Plaintiff adopts, realleges, and incorporates by reference all allegations above, and as

alleged in her EEOC Charges, alleging age discrimination.

        253.    Plaintiff was over 40 years old and was qualified for her position.

        254.    Plaintiff always performed her job satisfactorily.

        255.    Defendants refused to give Plaintiff equal opportunities because of her age.




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        256.      As described above, Defendants violated the ADEA, by engaging in conduct including

but not limited to providing similarly situated Sales Associates, under 40, with assistants, selling

opportunities and travel opportunities that Defendants did not provide to Plaintiff, who was over 40.

        257.      Further, Plaintiff consistently asked for metrics, seeking to understand why her

colleagues under 40 were given opportunities that she was not. Defendants never produced those

metrics or gave her any reason for their disparate treatment of her compared to her colleagues who

were under 40, and not-disabled.

        258.      Plaintiff exhausted her administrative remedies.

        259.      As a result of Defendants' conduct, Plaintiff has suffered damages including economic

losses and emotional distress, in an amount to be determined at trial.

        260.      Defendants' actions were willful, malicious, fraudulent, and oppressive, and were

committed with the wrongful intent to injure Plaintiff and in conscious disregard of Plaintiff’s rights.

        261.      Wherefore, Plaintiff is entitled to damages in an amount to be determined at trial,

including, without limitation, damages to physical well-being, emotional and psychological damages,

past and future economic losses, loss her career; punitive damages; and, prejudgment interest,

attorneys’ fees, expenses, costs and disbursements.

                                              COUNT IV
                                  ADEA - Age Discrimination - Retaliation
                                         (Against All Defendants)

        262.      Plaintiff adopts, realleges, and incorporates by reference all allegations above, and as

alleged in her EEOC Charges, alleging retaliation for complaining about a protected activity, age

discrimination.

        263.      For years, Plaintiff consistently complained about age discrimination, which

Defendants ignored. But then, in January 2023, Plaintiff finally filed a EEOC charge of discrimination,

including but not limited age discrimination.



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         264.   Upon Plaintiff filing her charge, Defendants retaliated against her, writing her up for

pretextual reasons and suspending her for five days in July 2023. Plaintiff filed a second charge of

discrimination, alleging retaliation.

         265.   Finally, in October 2023, Defendants fired Plaintiff for pretextual reasons, in

retaliation for filing a second charge of discrimination.

         266.   Wherefore, Plaintiff seeks a judgement awarding Plaintiff damages in an amount to be

determined at trial for economic losses, including but not limited to front pay, back pay, lost benefits,

liquidated damages, and attorney’s fees.

                                      COUNT V
                VIOLATION OF AMERICANS WITH DISABILITIES ACT OF 1990
                                (Against All Defendants)

         267.   Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

         268.   Under the Americans with Disabilities Act (“ADA”), it is unlawful for covered

employers to “discriminate against a qualified individual on the basis of disability in regard to job

application procedures, the hiring, advancement, or discharge of employees, employee compensation,

job training, and other terms, conditions, and privileges of employment,” pursuant to 42 U.S.C. §

12112(a); 29 C.F.R. § 1630.4.

         269.   Defendants violated the Americans with Disabilities Act of 1990 (Pub. L. 101-336)

(ADA), as amended, as these titles appear in volume 42 of the United States Code, beginning at section

12101.

         270.   Title 42 of the Americans with Disabilities Act of 1990, Chapter 126, Subchapter I,

Section 12112, Discrimination [Section 102] states: “(a) General rule. - No covered entity shall

discriminate against a qualified individual on the basis of disability in regard to job application




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procedures, the hiring, advancement, or discharge of employees, employee compensation, job training,

and other terms, conditions, and privileges of employment.”

        271.    To determine whether an individual is disabled under the ADA, the statute “shall be

construed in favor of broad coverage of individuals . . . to the maximum extent” permitted by law,

pursuant to 42 U.S.C. § 12102(4)(A).

        272.    A “disability” is defined by the ADA as “(A) a physical or mental impairment that

substantially limits one or more major life activities of such individual; (B) a record of such impairment;

or (C) being regarded as having such an impairment.” Id. § 12102(1)(A)–(C). Ms. Cohen's Complaint

alleges that her clinical depression and anxiety disorders constitute a physical or mental impairment

that substantially limits a major life activity; that she has a record of such impairment; and, that she

was regarded as having such an impairment.

        273.    Defendants engaged in an unlawful discriminatory practice by discriminating against

the Plaintiff because of her disability – namely that she was treated less favorably than other similarly

situated employees who were not disabled.

        274.    As a result of Defendants' discriminatory conduct, Plaintiff has suffered damages

including economic losses and emotional distress, in an amount to be determined at trial.

        275.    Defendants' actions were willful, malicious, fraudulent, and oppressive, and were

committed with the wrongful intent to injure Plaintiff and in conscious disregard of Plaintiff’s rights.

        276.    Wherefore, Plaintiff seeks damages in an amount to be determined at trial, including,

without limitation, compensation for lost past wages, future wages, past and future physical and

emotional distress, punitive damages, attorney’s fees and costs, and pre-judgement interest

                                    COUNT VI
               AMERICANS WITH DISABILITIES ACT - Hostile Work Environment
                               (Against All Defendants)




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        277.    Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

        278.    A plaintiff may assert a claim for an illegal hostile work environment on the basis of

disability under 42 U.S.C. § 12112(a).

        279.    Defendants were “employers” under 42 USC § 12111(5)(A) and Plaintiff was their

employee under 42 U.S.C. § 12111(4).

        280.    The ADA’s definition of “employer” includes the employer’s agents.

        281.    Managers Amy Hannaford and Elizabeth Kolosa were agents of Defendants.

        282.    Managers Kolosa and Hannaford subjected Plaintiff to persistent harassment on the

basis of her disabilities, depression and anxiety. Defendants conduct was severe or pervasive and both

objectively and subjectively offensive by calling her "crazy," ignoring her consistent complaints of

disparate treatment, watching her have panic attacks on the floor after increasing her goal; giving away

her sales to other, non-disabled employees to cause her to be upset; gaslighting her, and refusing to

help her despite her pleas.

        283.    Hannaford and Kolosa's harassment interfered with the performance of Plaintiff’s

work by creating a hostile and offensive working environment.

        284.    Defendants failed to take any action to prevent supervisors from harassing plaintiff,

including failing to address her complaints, or promulgating any written policy regarding harassment

or bullying.

        285.    Wherefore, as a direct result of the disability-based harassment that Defendants

allowed, Plaintiff is entitled to damages including, but not limited to, compensation for lost past wages,

future wages, past and future physical and emotional distress, punitive damages, attorney’s fees and

costs, and pre-judgment interest.

                                       COUNT VII
                        AMERICANS WITH DISABILITIES ACT - Retaliation

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                                            (Against All Defendants)

          286.   Plaintiff realleges the foregoing paragraphs as though fully set forth herein.

          287.   Plaintiff engaged in protected activity.

          288.   Defendant terminated Plaintiff for her protected activity. Plaintiff, at all times

employed by Defendant, performed his job satisfactorily. 49. As a result of Defendant’s conduct,

Plaintiff has suffered damages including economic losses and emotional distress, in an amount to be

determined at trial. 50. Defendant’s actions were willful, malicious, fraudulent, and oppressive, and

were committed with the wrongful intent to injure Plaintiff and in conscious disregard of Plaintiff’s

rights.

          289.   Plaintiff opposed Defendants’ unlawful acts and practices and was retaliated against as

set forth herein, including but not limited to being suspended in July 2023, after filing a complaint

with the EEOC and then, ultimately, firing her on October 4, 2023.

          290.   Wherefore, as a direct result of the disability-based harassment that Defendants

allowed, Plaintiff is entitled to damages including, but not limited to, compensation for lost past wages,

future wages, past and future physical and emotional distress, punitive damages, attorney’s fees and

costs, and pre-judgment interest.

                                        COUNT VIII
                       VIOLATION OF ILLINOIS HUMAN RIGHTS ACT - Age
                                    (Against All Defendants)

          291.   Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

          292.   Defendants were employers under 775 ILCS 5/2-101(B) and Plaintiff was an employee

under 775 ILCS 5/2-101(A).

          293.   Under the IHRA, it is a civil rights violation for any employer to refuse to hire,

segregate, or to act with respect to recruitment, hiring, promotion, renewal of employment, selection



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for training or apprenticeship, discharge, discipline, tenure or terms, privileges, or conditions of

employment on the basis of unlawful discrimination. 775 ILCS 5/2-102(A).

        294.    Defendants, through its agents and employees], including but not limited to Amy

Hannaford, Elizabeth Kolosa, and Lisa Gutierrez, violated the IHRA when they subjected Plaintiff to

impermissible discrimination on the basis of her age.

        295.    Plaintiff performed her job to her employer’s legitimate expectations, and beyond, but

despite her reasonable performance, she was subjected to adverse employment actions, including but

not limited to not receiving an assistant, not being allowed to transfer stores, not being promoted, not

being sent on company trips, and not being provided with private shopping experiences with her

clients, while younger employees with less experience, less sales and lower ranking were given these

promotions and opportunities.

        296.    Wherefore, as a direct result of the discrimination that Defendant allowed, Plaintiff is

entitled to damages including but not limited to compensation for lost past wages, future wages, past

and future physical and emotional distress, attorney’s fees and costs, and pre-judgment interest.

                                      COUNT IX
                  VIOLATION OF ILLINOIS HUMAN RIGHTS ACT - Disability
                                 (Against All Defendants)

        297.    Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

        298.    Plaintiff brings Count IX under the IHRA against Gucci America, Inc. for

discriminating against her on the basis of her disabilities, depression and anxiety.

        299.    Defendants were employers under 775 ILCS 5/2-101(B) and Plaintiff was its employee

under 775 ILCS 5/2-101(A).

        300.    Under the IHRA, it is a civil rights violation for any employer to refuse to hire,

segregate, or to act with respect to recruitment, hiring, promotion, renewal of employment, selection



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for training or apprenticeship, discharge, discipline, tenure or terms, privileges, or conditions of

employment on the basis of unlawful discrimination. 775 ILCS 5/2-102(A).

        301.    Defendant, through its agent[s] and employee[s], including but not limited to Amy

Hannaford, Elizabeth Kolosa, violated the IHRA when they subjected Plaintiff to impermissible

discrimination on the basis of her disabilities of depression and anxiety.

        302.    Plaintiff performed her job to her employer’s legitimate expectations, but despite her

reasonable performance, she was subjected to adverse employment actions, including not being given

an assistant, not being invited to fashion shows, not being given selling opportunities, and being

written up for attempting to advocate for herself, while non-disabled employees with lesser experience,

lower sales and less tenure were offered these opportunities and not written up for their behavior.

        303.    As a direct result of the discrimination that Defendants allowed, Plaintiff is entitled to

damages including but not limited to compensation for lost past wages, future wages, past and future

physical and emotional distress, attorney’s fees and costs, and pre-judgment interest.

                                     COUNT X
         VIOLATION OF ILLINOIS HUMAN RIGHTS ACT - Hostile Work Environment
                               (Against All Defendants)

        304.    Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

        305.    Plaintiff brings Count X under the IHRA against Defendants for hostile work

environment harassment for her disabilities, depression and anxiety.

        306.    Defendants are employers under 775 ILCS 5/2-101(B) and Plaintiff was an employee

under 775 ILCS 5/2-101(A).

        307.    Under the IHRA, it is a civil rights violation for any employer, employee, or agent of

any employer to engage in harassment on the basis of an employee’s disability. 775 ILCS 5/2-102(E-

1).



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        308.    The IHRA defines harassment as, in relevant part:

                        (E-1) Harassment. “Harassment” means any unwelcome
                        conduct on the basis of an individual's actual or perceived race,
                        color, religion, national origin, ancestry, age, sex, marital status,
                        order of protection status, disability, military status, sexual
                        orientation, pregnancy, unfavorable discharge from military
                        service, or citizenship status that has the purpose or effect of
                        substantially interfering with the individual's work
                        performance or creating an intimidating, hostile, or offensive
                        working environment. For purposes of this definition, the
                        phrase “working environment” is not limited to a physical
                        location an employee is assigned to perform his or her duties.
                        775 ILCS 5/2-101.

        309.    Defendant, by its agents and employees, violated the IHRA when it engaged in severe

and pervasive harassment of Plaintiff during the course of her employment.

        310.    The harassment took many forms, including but not limited to calling her crazy, telling

her to quit, ignoring her complaints that she was suffering, writing her up when she attempted to

advocate for herself, and bullying her.

        311.    The harassment interfered with the performance of Plaintiff’s work by creating a

hostile and offensive working environment, constituting an adverse employment action.

        312.    Defendants had actual and/or constructive notice of the harassment and failed to take

any action to prevent further harassment.

        313.    As a direct result of the harassment that Defendant allowed, Plaintiff is entitled to

damages, including but not limited to, compensation for lost past wages, future wages, past and future

physical and emotional distress, attorneys’ fees and costs, and pre-judgment interest.

                                           COUNT XI
                         VIOLATION OF ILLINOIS HUMAN RIGHTS ACT
                                 Retaliation - Disability and Age
                                    (Against All Defendants)

        314.    Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.



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        315.    Plaintiff brings Count XI under the IHRA against Defendants for retaliation.

        316.    Under the IHRA, it is a civil rights violation for any employer, employee, or agent of

any employer to retaliate against an employee because the employee believes they were a victim of

harassment in employment, and objected to, complained about, or otherwise opposed the harassment.

775 ILCS 5/2-102; 5/6-101.

        317.    Defendants are an “employer” under 775 ILCS 5/2-101(B) and Plaintiff was an

employee under 775 ILCS 5/2-101(A).

        318.    On or about January 19, 2023, Plaintiff engaged in protected activity by filing a Charge

of Discrimination with the EEOC. Then she filed a second charge on or about July 25, 2023, alleging

retaliation, after Defendants suspended her for pretextual reasons.

        319.    Defendants, through their agent and employee [job title(s), name(s)] violated the IHRA

on October 4, 2023, when [he/she/they] terminated Plaintiff’s employment in retaliation for her

protected activity.

        320.    As a direct result of Plaintiff’s retaliatory firing, Plaintiff is entitled to damages

including but not limited to compensation for lost past wages, future wages, past and future physical

and emotional distress, attorney’s fees and costs, and pre-judgment interest.

                                         COUNT XII
                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                    (Against All Defendants)

        321.    Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

        322.    Defendants' years' long refusal to address Plaintiff's complaints of discrimination and

bullying was extreme and outrageous conduct, as well as Management calling Plaintiff "crazy."

        323.    Defendants' conduct of consistently increasing Plaintiff's monthly sales goals, in an

effort to trick her into believing she was going to be rewarded an assistant, and receive other perks,



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and writing her up for things that they did not write-up others for was extreme and outrageous

conduct.

        324.     Defendants intended to cause or recklessly or consciously disregarded the probability

of causing emotional distress by ignoring Plaintiff’s complaints of discrimination, and increasing her

goal without providing her with any help and requiring she work 24/7, off-the-clock and without pay

to reach her goal.

        325.     As a direct and proximate result of the above-described actions, Plaintiff was and

continues to be harmed, suffering severe emotional distress.

        326.     Wherefore, for the foregoing reasons, plaintiff asks this Court to enter judgment in

her favor and against all Defendants for her damages, plus interest and reimbursement for the costs

of litigation, as well as all other relief this Court deems fair and just.

                                                COUNT XIII
                                          BREACH OF CONTRACT
                                          (Against Gucci America, Inc.)

        327.     Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

        328.     Plaintiff brings Count XIII pursuant to breach of contract for Gucci America, Inc.’s

failure to pay her for all hours worked and for her earned commissions.

        329.     Plaintiff and Gucci America, Inc. were two parties to an employment agreement (“the

contract”), with Gucci America, Inc. being Plaintiff’s employer.

        330.     As a term and condition of the contract, Gucci America, Inc. promised to pay Plaintiff

for all hours worked during the course of her employment.

        331.     Throughout the entire course of her employment, Gucci America, Inc. did not pay

Plaintiff for mandatory, off-the-clock work for hours worked off-the-clock and outside of the Gucci




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Chicago store, in an effort to make her monthly quota that she would not have been able to make by

working only in the store.

        332.     Further, as a term and condition of the contract, Gucci America, Inc. promised to pay

Plaintiff commissions at a rate of 3% of net sales made during the course of her employment.

        333.     Plaintiff performed all duties required of her by the contract in a sufficient manner.

        334.     Plaintiff continued to work in accordance with the contract, until she was terminated

on October 4, 2023, without being paid for all hours worked or for the entirety of her earned and

agreed to commissions.

        335.     As a direct result of Defendant's unlawful breach of the contract, Plaintiff was

damaged in the form of being denied her compensation, including payment of her hourly rate for all

hours worked and for payment of the entirety of her earned and agreed to commissions.

        336.     In light of the foregoing, Plaintiff is entitled to damages in an amount to be determined

at trial, including past and future economic losses, and prejudgment interest.

                                             COUNT XIV
                                UNJUST ENRICHMENT (in the alternative)
                                      (Against Gucci America, Inc.)

        337.     Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

        338.     Plaintiff brings Count XIV pursuant to common law unjust enrichment for Gucci

America, Inc.’s failure to pay her for all hours worked and for unearned commissions.

        339.     "To state a cause of action based on a theory of unjust enrichment, a plaintiff must

allege that the defendant has unjustly retained a benefit to the plaintiff's detriment, and that defendant's

retention of the benefit violates the fundamental principles of justice, equity, and good conscience.'"

Cleary v. Phillip Morris Inc., 656 F.3d 511, 516 (7th Cir. 2011), quoting HPI Health Care Services, Inc. v. Mt.

Vernon Hospital, Inc., 131 Ill. 2d 145, 545 (Ill. 1989).



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        340.    Throughout all her entire employment, beginning in 2006, Plaintiff worked off-the-

clock and outside of the Gucci Chicago store, to Plaintiff’s detriment, and Gucci America, Inc. failed

to pay Plaintiff for mandatory, off-the-clock work for hours she worked, in an effort to make her

assigned monthly sales quota.

        341.    Further, to Plaintiff’s detriment, Gucci America, Inc. failed to pay Plaintiff

commissions at a rate of 3% of net sales made during the course of her employment, for at least

$80,000 in commissions earned.

        342.    Gucci America, Inc. benefitted from Plaintiff’s sales and off-the-clock work in the

form of increased sales and uncompensated labor.

        343.    Wherefore, in light of the foregoing, Plaintiff is entitled to damages, including payment

of her hourly rate for all hours worked, and for payment of the entirety of her earned and agreed-to

commissions.

                                            COUNT XV
                             VIOLATION OF FAIR LABOR STANDARDS ACT
                                     (Against Gucci America, Inc.)

        344.    Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

        345.    The FLSA requires that employers pay all non-exempt employees not less than

minimum wage for each hour worked in a workweek. 29 U.S.C. § 206.

        346.    Defendant Gucci America, Inc. was Plaintiff’s employer and Plaintiff was Defendant's

employee within the meaning of the FLSA. 29 U.S.C. § 203(d), (e).

        347.    Defendant violated the FLSA by failing to pay Plaintiff at least minimum wage for all

hours Plaintiff worked.

        348.    Defendant's violation was willful.




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        349.    As a direct result of Defendant's violation of the FLSA, Plaintiff suffered the loss of

compensation in the form of unpaid wages.

        350.    In light of the foregoing, Plaintiff is entitled to damages in an amount to be determined

at trial, including actual damages in the form of Plaintiff’s unpaid minimum wages; liquidated damages,

per the FLSA, of double her actual unpaid minimum wages; reasonable attorneys’ fees and costs; and

such other and further relief as this Court deems appropriate and just.

                                        COUNT XVI
                    VIOLATION OF ILLINOIS MINIMUM WAGE LAW (IMWL)
                                 (Against Gucci America, Inc.)

        351.    Plaintiff adopts, realleges, and incorporates by reference all allegations above as though

they were fully rewritten.

        352.    The IMWL incorporates the FLSA’s standards, including that for payment of a

minimum wage. See 820 ILCS § 105/1 et seq.; 820 ILCS § 105/4(a); Morgan v. SpeakEasy, LLC, 625 F.

Supp. 2d 632, 650 (N.D. Ill. 2007) (holding the IMWL parallels the FLSA, and the same analysis

generally applies to both statutes).

        353.    The IMWL requires an employer to pay its covered, non-exempt employee according

to the following pay scale: January 1, 2005 through June 30, 2007 – not less than $6.50 per hour; July

1, 2007 through June 30, 2008 – not less than $7.50 per hour; July 1, 2008 through June 30, 2009 –

not less than $7.75 per hour; July 1, 2009 through June 30, 2010 – not less than $8.00 per hour; July

1, 2010 through December 31, 2019 – not less than $8.25 per hour; January 1, 2020 through June 30,

2020 – not less than $9.25 per hour; July 1, 2020 through December 31, 2020 – not less than $10 per

hour; January 1, 2021 through December 31, 2021 – not less than $11 per hour; January 1, 2022

through December 31, 2022 – not less than $12 per hour. See 820 ILCS § 105/4.

        354.    Defendant Gucci America, Inc. was Plaintiff’s employer and Plaintiff was Defendant's

employee within the meaning of the IMWL. 820 ILCS § 105/3(c), (d).



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       355.    Plaintiff was a covered and non-exempt employee as defined under the IMWL.

       356.    Defendant violated the IMWL by failing to pay Plaintiff at least minimum wage for all

hours Plaintiff worked.

       357.    Defendant's violation was willful.

       358.    As a direct result of Defendant's violation of the IMWL, Plaintiff suffered the loss of

compensation in the form of unpaid wages.

                                     COUNT XVII
           VIOLATION OF ILLINOIS WAGE PAYMENT AND COLLECTION ACT
                    Unpaid Final Compensation - Earned Commissions
                                 (Against All Defendants)

       359.    Plaintiff adopts, realleges, and incorporates by reference all allegations above.

       360.    Plaintiff brings Count XVII under the IWPCA for Defendants' failure to pay her

earned and agreed to commissions.

       361.    The IWPCA requires employers to pay their employees according to their agreements

and to pay employees all earned wages or final compensation, including “earned commissions.” 820

ILCS 115/2.

       362.    Plaintiff was Gucci America, Inc.’s employee, and Gucci America, Inc. was Plaintiff’s

employer, as defined under the IWPCA. 820 ILCS 115/2.

       363.    As a term and condition of employment, Plaintiff was promised commissions at a rate

of 3-5% of net sales made during the course of her employment.

       364.    The commissions owed to Plaintiff constitute an “earned commission” as defined

under the IWPCA, as Plaintiff had met all conditions for earning the award and there was an

unequivocal promise to pay it as required by the IWPCA. 56 Ill. Adm. Code 300.510(a).

       365.    Decision makers, corporate officers, and agents who knowingly permit the violation

of the IWPCA face individual liability for such violations. 820 ILCS 115/13.




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         366.   At all times relevant herein, Defendants had numerous “decision makers” as defined

under the IWPCA. 820 ILCS 115/13.

         367.   At all times relevant herein, as Amy Hannaford, Elizabeth Kolosa, Laura Desai, and

Tracie Hepper made significant personnel and financial decisions, including payment of separated

employees’ earned commissions upon termination.

         368.   On October 4, 2023, Plaintiff was terminated without being paid the entirety of her

earned and agreed to commissions.

         369.   Plaintiff earned commissions based on the sales she made on behalf of Gucci America,

Inc.

         370.   Plaintiff continued to work in accordance with Gucci America, Inc.’s commission

structure up and until her termination on October 4, 2023.

         371.   Plaintiff performed her obligations to earn commissions based on percentages of all

sales she made on behalf of Gucci America, Inc.

         372.   Defendants that Plaintiff had earned commissions and took part in the decision to

refuse to pay Plaintiff the entirety of her earned and agreed to commissions.

         373.   Defendants knowingly and willfully violated the IWPCA by failing to pay Plaintiff’s

earned commissions as her final compensation.

         374.   As a direct result of Defendants' violation of the IWPCA, Plaintiff was damaged in the

form of being denied her final compensation, to wit, her earned commissions.


                                     PRAYER FOR RELIEF

         WHEREFORE Plaintiff, Tracy Cohen, prays that this Court finds in her favor and awards

her:




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i.     for the first cause of action against Defendants for trafficking in violation of 18 U.S.C. §

       1589, a judgment awarding Plaintiff damages in an amount to be determined at trial,

       including, without limitation, damages to physical well-being, emotional and psychological

       damages, past and future economic losses, loss of career opportunities, together with

       punitive damages, plus prejudgment interest, attorneys’ fees, expenses, costs and

       disbursements;

ii.    for the second cause of action against Defendants for trafficking in violation of 740 ILCS

       128, a judgment awarding Plaintiff damages in an amount to be determined at trial,

       including, without limitation declaratory and injunctive relief; costs of litigation and

       attorneys’ fees; compensatory damages including, but not limited to: (i) economic loss,

       including damage, destruction, or loss of post or future earning capacity, and, any

       statutorily required wages under applicable State or federal law; and (ii) damages for mental

       and emotional harm, including medical, pain and suffering, and physical impairment;

       punitive damages; and damages in the amount of the gross revenues received by

       Defendants from, or related to, Plaintiff’s activities.

iii.   for the third cause of action against Defendants for violation of the ADEA - Age

       Discrimination, a judgement awarding Plaintiff damages in an amount to be determined

       at trial for economic losses, including but not limited to front pay, back pay, lost benefits,

       liquidated damages, and attorney’s fees;

iv.    for the fourth cause of action against Defendants for violation of the ADEA – Retaliation,

       a judgement awarding Plaintiff damages in an amount to be determined at trial for

       economic losses, including but not limited to front pay, back pay, lost benefits, liquidated

       damages, and attorney’s fees;




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v.      for the fifth cause of action against Defendants for violation of the ADA, a judgment

        awarding Plaintiff damages in an amount to be determined at trial, including, without

        limitation, compensation for lost past wages, future wages, past and future physical and

        emotional distress, punitive damages, attorney’s fees and costs, and pre-judgement

        interest;

vi.     for the sixth cause of action for violation of the ADA – Hostile Work Environment, a

        judgment awarding Plaintiff damages in an amount to be determined at trial, including but

        not limited to, compensation for lost past wages, future wages, past and future physical

        and emotional distress, punitive damages, attorney’s fees and costs, and pre-judgement

        interest;

vii.    for the seventh cause of action for retaliation under the ADA – Retaliation, a judgment

        awarding Plaintiff damages in an amount to be determined at trial, including but not

        limited to, compensation for lost past wages, future wages, past and future physical and

        emotional distress, punitive damages, attorney’s fees and costs, and pre-judgement

        interest;

viii.   for the eighth cause of action against Defendants for violation of the IHRA, 775 ILCS

        5/2-102(A) – Age, a judgment awarding Plaintiff damages in an amount to be determined

        at trial, for compensation for lost past wages, future wages, past and future physical and

        emotional distress, attorney’s fees and costs, and pre-judgment interest;

ix.     for the nineth cause of action against Defendants for violation of the IHRA, 775 ILCS

        5/2-102(A) – Disability, a judgment awarding Plaintiff damages in an amount to be

        determined at trial, for compensation for lost past wages, future wages, past and future

        physical and emotional distress, attorney’s fees and costs, and pre-judgment interest;




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x.      for the tenth cause of action against Defendants for violation of the IHRA 775 ILCS 5/2-

        102(A) – Hostile Work Environment, a judgment awarding Plaintiff damages in an amount

        to be determined at trial, for compensation for lost past wages, future wages, past and

        future physical and emotional distress, attorney’s fees and costs, and pre-judgment interest;

xi.     for the eleventh cause of action for violation of the IHRA – Retaliation, a judgment

        awarding Plaintiff damages in an amount to be determined at trial, for compensation for

        lost past wages, future wages, past and future physical and emotional distress, attorney’s

        fees and costs, and pre-judgment interest;

xii.    for the twelfth cause of action against Defendants for intentional infliction of emotional

        distress, a judgment awarding Plaintiff damages in an amount to be determined at trial;

xiii.   on the thirteenth cause of action for breach of contract against Defendant Gucci America,

        Inc., a judgment awarding Plaintiff damages in an amount to be determined at trial, plus

        prejudgment interest;

xiv.    for the fourteenth cause of action against Defendant Gucci America, Inc., for Unjust

        Enrichment (in the Alternative), a judgement awarding Plaintiff damages, including

        payment of her hourly rate for all hours worked, and for payment of the entirety of her

        earned and agreed-to commissions.

xv.     for the fifteenth cause of action against Defendant Gucci America, Inc., for violation of

        the FLSA, a judgement awarding Plaintiff damages in an amount to be determined at trial,

        including actual damages in the form of Plaintiff’s unpaid minimum wages; liquidated

        damages, per the FLSA, of double her actual unpaid minimum wages; attorneys’ fees and

        costs; and such other and further relief as this Court deems appropriate and just.

xvi.    for the sixteenth cause of action against Defendant Gucci America, Inc., for violation of

        the IMWL (820 ILCS § 105), a judgment awarding Plaintiff her actual damages in the form



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             of Plaintiff’s unpaid minimum wages; treble damages, pursuant to the IMWL in the

             amount of triple her unpaid minimum wages; statutory interest on the unpaid minimum

             wages at the rate of 5% per month; reasonable attorneys’ fees and costs; and such other

             relief as this Court deems appropriate and just.

    xvii.    for the seventeenth cause of action for violation of the IWPCA – Unpaid Final

             Compensation/Earned Commissions, judgment for Plaintiff in the amount of her unpaid

             wages, and earned commissions; statutory damages equivalent to the maximum statutory

             monthly interest penalties available pursuant to 820 ILCS 115/14; reasonable attorneys’

             fees and costs as required under 820 ILCS 115/15; and such other and further relief as

             this Court deems appropriate and just; and

    xviii.   such other and further relief as the Court deems just, equitable and proper.

                                           JURY DEMAND

Plaintiff demands a jury on all issues so triable.

                                                        Respectfully submitted,

                                                        Tamara Holder
                                                        Attorney for Plaintiff Tracy Cohen

                                                        By: /s/ Tamara Holder
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